

Matter of Pettus v Guzman (2017 NY Slip Op 08323)





Matter of Pettus v Guzman


2017 NY Slip Op 08323


Decided on November 28, 2017


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 28, 2017

Richter, J.P., Kapnick, Webber, Oing, Singh, JJ.


5056 119/17 -4764

[*1]In re James Pettus, Petitioner,
vHon. Guzman, et al., Respondents.


James Pettus, petitioner pro se.
John W. McConnell, New York (Shawn Kerby of counsel), for respondents.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: NOVEMBER 28, 2017
CLERK








